 

Case 1:23-cr-00058-CJN Document 5 Filed 02/24/23 Page 1of1

AO 442 (Rev. 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
v. ) Case: 1:23-cr-00058
KELVIN POWELL. } Assigned To : Nichols, Carl J.
) Assign. Date : 2/23/2023
—— Defindent ) Description: INDICTMENT (B)

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested} KELVIN POWELL — sina
who is accused of an offense or violation based on the following document filed with the court:

 

4 Indictment © Superseding Indictment O Information © Superseding Information © Complaint
O Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 2243(b) (Sexual Abuse of a Ward); 18 U.S.C. § 2244(a)(4) (Abusive Sexual Contact)

[MH ad ~~

Date: 02/23/2023

 

 

Issuing afficer’s signature
City and state: | Washington, DC _____Moxila A. Upadhyaya, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) 23/1625 _, and the person was arrested on (date) 0 tf: 1 / poz]
at (city and state) § .

Date: OLY [Jou [\ A i

7 Arpestielg officer's signature

i Printed name and a

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